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11

12                        UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA
14

15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668-PSG (SKx)
     LEAGUE’S “SUNDAY TICKET”
16   ANTITRUST LITIGATION
17
                                              MEMORANDUM IN OPPOSITION
18   THIS DOCUMENT RELATES TO ALL             TO NFL DEFENDANTS’ MOTION
     ACTIONS                                  IN LIMINE NO. 1 TO EXCLUDE
19                                            EVIDENCE AND ARGUMENT
                                              SEEKING TO PROVE THAT
20                                            REVENUE SHARING IS
                                              ANTICOMPETITIVE
21
                                              JUDGE: Hon. Philip S. Gutierrez
22                                            DATE: February 7, 2024
                                              TIME: 2:30 p.m.
23                                            COURTROOM:
                                                First Street Courthouse
24                                              350 West 1st Street
                                                Courtroom 6A
25                                              Los Angeles, CA 90012
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 1         The NFL Defendants seek to preclude Plaintiffs from arguing that it would
 2   be anticompetitive for the teams to share 100% of their independently generated
 3   telecast revenue in a world free from the challenged restraints on the basis that the
 4   Plaintiffs have somehow conceded that 100% revenue sharing should be considered
 5   to exist in that world. From that premise, the NFL Defendants argue that because
 6   100% revenue sharing, if it existed, would produce the same anticompetitive effects
 7   as the pooling of telecast rights, Plaintiffs have no case. Plaintiffs never made such
 8   an absurd concession. Nor would they. The claim in this case—which has never
 9   changed—is that teams, the NFL and the other parties to the conspiracy colluded to
10   restrict the availability of out-of-market (“OOM”) telecasts.1 As both sides’ experts
11   have testified, an agreement among competitors to pool 100% of their telecast
12   revenue would defeat any incentive to compete in the same way as does the
13   agreement to pool 100% of their telecast rights. The agreement to pool revenue, in
14   other words, is part and parcel of the agreement to pool rights. Plaintiffs made this
15   clear from the beginning. See, e.g., Second Consolidated Amended Complaint
16   (“Second CAC”), ECF 441, ¶ 81 (“[T]he NFL’s 32 member Teams have given the
17   league authority to negotiate pooled rights television deals on their behalf, in
18   exchange for an equal share of the resulting revenues.”) (emphasis added);
19   Consolidated Amended Complaint, ECF 163, ¶ 81 (same).
20         To support their motion in limine, the NFL Defendants have unjustifiably
21   attempted to use Plaintiffs’ recognition that partial revenue sharing could be a less
22   restrictive alternative to the pooling agreement’s complete revenue sharing in the
23   unlikely event the jury were to conclude that individual teams could not generate
24   1
       Congress granted the NFL teams a limited exemption from the antitrust laws in
25   the Sports Broadcasting Act of 1961 (“SBA”), allowing them to sell their rights
     collectively for telecasts on free over-the-air television. See In re Nat’l Football
26
     League’s Sunday Ticket Antitrust Litig. (“NFLST”), 933 F.3d 1136, 1146-47 (9th
27   Cir. 2019). These over-the-air telecasts are referred to as “in-market” telecasts to
     contrast them with the OOM telecasts that were jointly sold collectively (and
28
     exclusively) to DirecTV.
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 1   suggestion that Plaintiffs have conceded otherwise is sophistry.
 2          Plaintiffs have explained that in a world in which the teams compete in the
 3   sale of their telecast rights, teams could still share the revenue generated by the
 4   League (most notably the collective sale of in-market telecasts allowed under the
 5   SBA) on top of the portion of the teams’ local revenues they already share. See,
 6   e.g., ECF 962-4, Expert Report of Daniel A. Rascher, dated February 17, 2023
 7   (“Rascher Merits Rpt.”) ¶¶ 272-73. If those amounts were somehow not enough to
 8   meet the teams’ minimum salary obligations, which is how competitive balance is
 9   actually maintained (assuming for the sake of argument that Defendants can prove
10   that the current level of competitive balance is indeed procompetitive), an
11   additional partial sharing of local revenue would be a less restrictive alternative to
12   the equal sharing of revenue because it would not eliminate the teams’ competitive
13   incentives. Id.
14          Neither Plaintiffs nor their experts have ever suggested that complete sharing
15   of the teams’ telecast revenue would be allowed in a but-for world free from the
16   web of contractual restraints at issue in this case. That would make no sense
17   because it would leave fans in no better position than they are in now: facing an
18   arrangement that effectively prevents competition in the sale of the teams’ OOM
19   telecast rights.
20                                      ARGUMENT
21          Plaintiffs have consistently claimed that the teams’ agreement to share
22   revenue equally is an integral element of the challenged pooling arrangement. This
23   is expressly stated in the Second Consolidated Amended Complaint: “[T]he NFL’s
24   32 member Teams have given the league authority to negotiate pooled rights
25   television deals on their behalf, in exchange for an equal share of the resulting
26   revenues.” ECF 441, ¶ 81 (emphasis added). Plaintiffs made clear that the pooling
27   of the rights and the equal sharing of the revenues derived from the League’s sale of
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  1   that the current level of competitive balance is necessary to maintain its current
  2   level of consumer demand.”).
  3         The NFL Defendants’ motion is based on circular logic that the pooling of
  4   rights must be allowed because the complete sharing of revenue would be allowed
  5   in the but-for world. See Bernheim Merits Rpt., ¶ 256
  6

  7                                                                         That argument
  8   makes no sense because it would maintain the very harm Plaintiffs seek to remedy.
  9         Ultimately, this motion is not about surprise or prejudice. It is an unjustified
 10   attempt to prevent Plaintiffs from pointing out the fallacy in Prof. Bernheim’s
 11   defense of the NFL Defendants’ complete elimination of competition. It would be
 12   prejudicial in the extreme to forbid Plaintiffs from pointing this out to the jury
 13   because the goal of this litigation is to restore competition in the market for NFL
 14   football telecasts, not to allow the very collusion at issue in the case to go on
 15   without any remedy.
 16                                    CONCLUSION
 17         For the foregoing reasons and authorities, it is respectfully submitted that the
 18   NFL Defendants’ motion in limine should be denied.
 19

 20   Dated: January 19, 2024                Respectfully submitted,
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